     Case 1:08-cr-00230-JTN      ECF No. 35, PageID.57          Filed 09/30/08      Page 1 of 1




                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,

               Plaintiff,                                    Case No. 1:08-CR-230

v.                                                           Hon. Janet T. Neff

DONALD VICTOR TREMAIN, JR. and
ANTHONY MICHAEL TREMAIN,

            Defendants.
___________________________________________/


                     ORDER DENYING MOTION TO MODIFY BOND

               Pending before the court is a motion by defendants Donald Victor Tremain, Jr.

and Anthony Michael Tremain to modify bond conditions to allow them to travel to Iraq (docket

no. 30). For the reasons more fully explained on the record at a hearing held this date, the

motion is DENIED.

               IT IS SO ORDERED.



Dated: September 30, 2008                            /s/ Hugh W. Brenneman, Jr.
                                                     HUGH W. BRENNEMAN, JR.
                                                     United States Magistrate Judge
